         Case 1:16-cv-00902-SCJ Document 44 Filed 07/05/17 Page 1 of 4



                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JUAN PEREZ,                              *
                                         *
              Plaintiff,                 *
                                         * CIVIL ACTION FILE NO.
v.                                       * 1:16-CV-00902-SCJ
                                         *
COBB COUNTY and                          *
THOMAS BASTIS                            *
                                         *
              Defendants.                *
                                         *

      NON-PARTY SAFEPATH CHILDREN’S ADVOCACY CENTER’S
     OBJECTION TO SUBPOENA TO PRODUCE DOCUMENTS, AND, IN
         THE ALTERNATIVE, MOTION TO QUASH SUBPOENA
                PURSUANT TO FED. R. CIV. P. 45(d)(3)

        COMES NOW, Non-Party, SafePath Children’s Advocacy Center

(hereinafter “SafePath”), and objects to the subpoena requesting the producing of

certain documents relating to a minor’s treatment at SafePath from 2012 through

2014.

        The minor child at issue, GP, was seen at SafePath Children’s Advocacy

Center. The circumstances surrounding GP’s treatment at SafePath was related to

the allegations of child abuse. The subpoena requests:

        all documents (files, notes, etc.) related to Amanda and Juan Perez’s
        daughter GP, who was treated at Safepath around 2012 through 2014.
        All communications with any government agencies, including law
        Case 1:16-cv-00902-SCJ Document 44 Filed 07/05/17 Page 2 of 4



      enforcement, about GP, the Perezes, or both. All documents related to
      Amanda Perez, Juan Perez, or both.

      SafePath Children’s Advocacy Center objects to this subpoena on the

grounds that the party seeking such information has not complied with the

requirements of OCGA §§ 49-5-40 and 49-5-41.

      O.C.G.A. § 49-5-40 reads that

      (c) Each and every record concerning child abuse or neglect which is
      received by the department from the child abuse and neglect registry
      of any other state shall not be disclosed or used outside the department
      for any other purpose other than conducting background checks to be
      used in foster care and adoptive placements.
O.C.G.A. § 49-5-40(c).

      O.C.G.A. § 49-5-41 provides that even with a subpoena, documents related

to allegations of child abuse shall not be disclosed without an in camera review of

the documents by the Court and an Order to produce said records.

      (11) A court, by subpoena that is filed contemporaneously with a
      motion seeking records and requesting an in camera inspection of
      such records, may make such records available to a party seeking such
      records when:
      (A) Such motion is filed;
      (B) Such motion is served:
      (i) On all parties to the action;
      (ii) On the department or other entity that has possession of such
      records, as applicable; and
      (iii) In matters other than a dependency proceeding or a civil
      proceeding wherein there is no related pending criminal investigation
      or prosecution of criminal or unlawful activity, on the prosecuting
      attorney, as applicable; and
        Case 1:16-cv-00902-SCJ Document 44 Filed 07/05/17 Page 3 of 4



      (C) After an in camera inspection of such records, the court finds that
      access to such records appears reasonably calculated to lead to the
      discovery of admissible evidence.

O.C.G.A. § 49-5-41(a)(11).

      As the subpoena was not accompanied by a motion for in-camera review,

nor a Court order ordering the production of the records, SafePath objects to the

production of the documents, until such time as the Court issues an Order, pursuant

to O.C.G.A. § 49-5-41(a)(11).

      Respectfully submitted, this 5th day of July, 2017.

                                            LoRusso Law Firm, P.C.


                                            /s Jill M. Irvin
                                            Jill M. Irvin
                                            Georgia Bar No. 202731
                                            Attorney for SafePath Children’s
                                            Advocacy Center

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        Case 1:16-cv-00902-SCJ Document 44 Filed 07/05/17 Page 4 of 4



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             Defendants.                  *
                                          *

                          CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing pleading using the
CM/ECF system that will automatically send email notification of such filing to
the following attorneys of record:

                            Andre T. Tennille, III, Esq.
                                  Via CM/ECF

      This 5th day of July, 2017.
                                              LoRusso Law Firm, P.C.


                                              /s Jill M. Irvin
                                              Jill M. Irvin
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